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                                  UNITED STATES DISTRICT COURT
 4
                                          DISTRICT OF NEVADA
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 6   UNITED STATES OF AMERICA,                 )
                                               )
 7                     Plaintiff,              )                  Case No. 2:14-cr-00260-JAD-GWF
                                               )
 8   vs.                                       )                  ORDER
                                               )
 9   KENNETH TARALDSEN,                        )
                                               )                  Ex-Parte Motion to Withdraw and
10                     Defendant.              )                  Appointment of New Counsel (#11)
     __________________________________________)
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12          This matter comes before the Court on Assistant Federal Public Defender Heidi A. Ojeda’s
13   Ex-Parte Motion to Withdraw and Appointment of New Counsel (#11) for Kenneth Taraldsen
14   (“Defendant”), filed on August 25, 2014. Defendant’s arraignment is set for September 4, 2014.
15   Counsel represents that her representation of Defendant creates a serious conflict, which
16   necessitates the need for withdrawal. Local Rule IA 10-6(b) provides that “[n]o attorney may
17   withdraw after appearing in a case except by leave of court after notice served on the affected client
18   and opposing counsel.” The Court finds that counsel establishes good cause for the withdrawal.
19   Accordingly,
20          IT IS HEREBY ORDERED that Assistant Federal Public Defender Heidi A. Ojeda’s Ex-
21   Parte Motion to Withdraw and Appointment of New Counsel (#11) for Defendant Kenneth
22   Taraldsen is granted.
23          IT IS FURTHER ORDERED that a hearing to appoint CJA counsel is set for Tuesday,
24   September 2, 2014 at 10:30 A.M. in Courtroom 3A before the undersigned.
25          DATED this 27th day of August, 2014.
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27                                                 ______________________________________
                                                   GEORGE FOLEY, JR.
28                                                 United States Magistrate Judge
